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 7                      UNITED STATES DISTRICT COURT
 8                     CENTRAL DISTRICT OF CALIFORNIA
 9                              WESTERN DIVISION
10 FORMAL ENTERTAINMENT LLC, a ) Case No. 2:23-cv-7888 CBM (SKx)
   Delaware Corporation,             )
11                                   ) ORDER RE PLAINTIFF’S FILING OF
                         Plaintiff,
12                                   ) FIRST AMENDED COMPLAINT [13]
         vs.                         )
13                                   )
   ZAIN JAVADD MALIK p/k/a ZAYN, )
14 an individual; DAVID DEBRANDON )
   BROWN p/k/a LUCKY DAYE, an
15 individual; DUSTIN ADRIAN BOWIE )
   p/k/a DAB, an individual; MICHAEL )
16 LAVELL MCGREGOR, an individual; )
   COLE ALAN CITRENBAUM, an          )
17 individual; PHILIP VON BOCH       )
   SCULLY, an individual; SONY MUSIC )
18 ENTERTAINMENT, a Delaware         )
   General Partnership; and DOES 1
19 through 100,                      )
                                     )
20                       Defendants. )
                                     )
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Case 2:23-cv-07888-CBM-SK Document 14 Filed 11/27/23 Page 2 of 2 Page ID #:57




 1                                         ORDER
 2         The Court having received and considered the Stipulation of plaintiff Formal
 3 Entertainment LLC (“Plaintiff”) and defendants Philip Von Boch Scully, Michael
 4 Lavell McGregor, and Sony Music Entertainment (“Defendants”), and for good cause
 5 shown,
 6         IT IS HEREBY ORDERED as follows:
 7         1.    Plaintiff shall file a first amended complaint on or before December 11,
 8 2023;
 9         2.    Defendants shall have twenty-one days to respond to Plaintiff’s first
10 amended complaint; and
11         3.    In the meantime no response need be filed to Plaintiff’s initial Complaint.
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14   Dated: NOVEMBER 27, 2023                      ______________________________
15                                                     Hon. Consuelo B. Marshall
                                                       United States District Judge
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